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Attorney for Defendant


                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA

 ANDREA AYULUK, ERIC            ) Case No. 3:10-cv-00129-JWS
 AYULUK, and as Parent and Next )
 Friend of A.A., a Minor Child, )
                                )
             Plaintiff,         ) NOTICE REGARDING
                                ) SETTLEMENT
      v.                        )
                                )
 UNITED STATES OF AMERICA, )
                                )
             Defendant.         )
                                )

      The United States, through counsel, notifies the Court that the parties have

reached a tentative negotiated settlement of the claims in this action. A notice and

stipulation for dismissal will be filed after the parties complete the settlement

documents and proceedings, which is expected to take no more than 60 days. The




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parties ask that the Court retain jurisdiction during this 60 day period. The

parties further request that the trial currently scheduled for February 11,

2013, be vacated, along with all associated pretrial deadlines.

       RESPECTFULLY SUBMITTED January 8, 2013, at Anchorage,

Alaska.


                                            KAREN L. LOEFFLER
                                            United States Attorney


                                            s/ E. Bryan Wilson
                                            Assistant U.S. Attorney



CERTIFICATE OF SERVICE

I hereby certify that on January 8, 2013,
a copy of the foregoing was served via
U.S. Mail on:

David Henderson
Law Offices of David Henderson
P.O. Box 2411
Bethel, Alaska 99559

s/ Bryan Wilson




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